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                                 UNITED STATES BANKRUPTCY COURT
                                      District of New Jersey Trenton

   In re:                                                                    Case No.: 21-30589
    LTL Management LLC,                                                       Chapter: 11
          Debtor(s).




                                       CERTIFICATE OF SERVICE

          I, Tinamarie Feil, state as follows:

          I am over the age of 18 and not a party to the above-captioned case. I certify that on February 9,
 2022, as directed by GENOVA BURNS LLC , true and correct copy(s) of the following document(s)
 were served on the party(s) listed on the attached exhibit(s) via the mode(s) of service thereon indicated:


 Dkt #1434-Response to Motion in Limine
 Dkt #1435-Motion to Seal


 I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 February 9, 2022



                                                            Tinamarie Feil
                                                            BMC Group, Inc.
                                                            Approved Bankruptcy Notice Provider
                                                            info@bmcgroup.com; 888.909.0100




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